           Case 2:10-cv-00568-JCC Document 27 Filed 07/23/10 Page 1 of 3




 1                                                                   The Honorable John C. Coughenour

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 7
                                  UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9

10   EVERGREEN INTERNATIONAL                             Case No. 2:10-cv-568
     AIRLINES, INC., an Oregon corporation,
11
                       Plaintiff,                        STIPULATION FOR VOLUNTARY
12                                                       DISMISSAL OF ACTION
                      vs.
13
     THE BOEING COMPANY, a Delaware
14   Corporation,
15                Defendant.

16            TO: THE CLERK OF THE COURT
17            Plaintiff Evergreen International Airlines, Inc., and Defendant The Boeing Company,
18   being the only parties who have appeared in this action, stipulate and agree, pursuant to Rule
19   41(a)(1)(A)(ii), that the above-entitled action may be dismissed with prejudice and without costs
20   to any party.
21            The Clerk of the Court is hereby requested to enter this dismissal in the records of the
22   Court.
23

24    DATED this 23rd day of July, 2010.
25            //
26
     STIPULATION FOR VOLUNTARY                                                BADGLEY ~ MULLINS
                                                                                           LAW GROUP
     DISMISSAL OF ACTION- 1
                                                                                        Columbia Center
     Cause No. C07-1518C                                                          701 Fifth Avenue, Suite 4750
                                                                                   Seattle, Washington 98101
                                                                                   Telephone: (206) 621-6566
                                                                                   Fax: (206) 621-9686
         Case 2:10-cv-00568-JCC Document 27 Filed 07/23/10 Page 2 of 3




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                                       s/ Michael Himes _________________
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     DISMISSAL OF ACTION- 2
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     Cause No. C07-1518C                                            701 Fifth Avenue, Suite 4750
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         Case 2:10-cv-00568-JCC Document 27 Filed 07/23/10 Page 3 of 3




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     STIPULATION FOR VOLUNTARY                               BADGLEY ~ MULLINS
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     DISMISSAL OF ACTION- 3
                                                                       Columbia Center
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